                       Case 1:17-cv-03960-JMF Document 171 Filed 12/03/20 Page 1 of 1




                                                         UNITED STATES DISTRICT C�URT
                                                        SOUTHERN DISTRICT OF NEW ORK



Charles Seife
  (List the full name(s) of the plaintiff(s)/petitioner(s).)

                                                             -against-
                                                                                                                                                      NOTICE OF APPEAL


Food and Drug Administration and U.S. Department of Hea1U1 and Human Services, Oefendanls, and Sarnpta Therapeutics, Inc., Defendant-Intervenor




 (List the full name(s) of the defendant(s)/respondent(s).)



 Notice is hereby given that the following parties:
Charles Seife
 (list the names of all parties who are filing an appeal)


 in the above-named case appeal to the United States Court of Appeals for the Second Circuit

 from the                          @judgment                              0 order                       entered on:                         10/06/2020
                                                                                                                                              (date that judgment or order was entered on docket)
 that:

the information withheld from disclosure by the Food and Drug Administration was proper under FOIA Exemption 4.
 (If the appeal is from an order, provide a brief description above of the decision in the order.)

  12/3/2020                                                                                                                        Dav I• d           sC       U I Z Date: 2020.12.02 15:32:07 -05'00'
                                                                                                                                                                      Digitally signed by David Schulz


    Dated                                                                                                                            Signature•

  Schulz, David, A.
    Name (Last, First, Ml)

      1675 Broadway, 19th Floor                                                           New York New York                                                               10019
    Address                                                                             City                                         State                               Zip Code

   (917) 733-9014                                                                                                                  schulzd@jballardspahr.com
    Telephone Number                                                                                                                 E-mail Address (if available)


  Media Freedom and Information Access Clinic, Yale Law School




 • Each party filing the appeal must date and sign the Notice of Appeal and provide his or Her mailing address and telephone
 number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
 to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.
 Rev.12/23/13
